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 6

 7

 8                   IN THE UNITED STATES DISTRICT COURT
 9                FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   THE UNITED STATES OF           )            CASE NO. CR.S- 05-343 FCD
     AMERICA,                       )
12                                  )            ORDER TO CONTINUE
               Plaintiff,           )            SENTENCING DATE
13                                  )
          v.                        )
14                                  )
     ROZA GASPARIAN, et, al.        )
15                                  )
               Defendants.          )
16                                  )
                                    )
17    _____________________________ )
18

19       GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
20   that Defendants Rosa Gasparian, Manuk Shukbaralyan, Yurik Shakhbazyan,
21   Sentencing Hearing currently set for January 21, 2009 at 10:00 a.m. shall be
22   continued to March 9, 2009, at 10:00 a.m.
23

24   Dated: January 14, 2009
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                                          _______________________________________
26                                        FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE
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